Case 2:05-cr-20069-.]PI\/| Document 33 Filed 08/22/05 Page 1 of 2 Page|D 40

 

IN Tt~cE: UNITED sTATEs DISTRICT coURT LED BY J§`Q D_C_
FoR THE wEsTERN DISTRICT oF TENNESSEE USAU
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'r' ,OU`T adm
UNITED sTATEs oF AMERICA, W/D G*f-"‘JA»AA£A;FPH;S

Plaintiff,
vs. CR. NO. 05-20069-Ma

CURTIS SPRINGER,

Defendant.

~._/V~_/\_r~_._.¢~.._¢-._/~../'~_/

 

ORDE'R ON CONTINUANCE AN'D SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for' a report date on. July' 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from July 22, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 316l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this 224 day of August, 2005.

JMW\

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This docunent entered on the docket sheet ln c m liaan
with ante 55 and/or 321b) FRCrP on _LM_

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:05-CR-20069 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

